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         IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF GEORGIA
                   ATLANTA DIVISION


    DONNA CURLING, et al.


              Plaintiffs,
                                                CIVIL ACTION
                  v.
                                           FILE NO. 1:17-cv-2989-AT
BRAD RAFFENSPERGER, et al.,


             Defendants.




                JOINT DISCOVERY STATEMENT
    REGARDING COFFEE COUNTY ELECTION RECORDS




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                           Coalition Plaintiffs’ Position

      Coalition Plaintiffs need Coffee County election data/documents from State

Defendants: (i) Election Project Packages from the November 3, 2020 original

count and recount, (ii) Election Project Package from the January 5, 2021 runoff

election, (iii) “documentation from their [Coffee’s] Election Management System

to back up their uploaded results” for the November 2020 recount, (iv) messages

from Cathy Latham to Gabriel Sterling (of the Secretary of State’s office)

concerning Coffee County November 2020 ballot processing problems, (v)

messages from Cathy Latham to Secretary Raffensperger regarding Coffee County

ballot processing problems, (vi) State Defendants’ investigation files (whether

complete or in process) related to Coffee County investigations during the period

2020 to the present, (vii) all documents referencing or regarding a breach of the

voting system in Coffee County in 2020 or 2021, and (viii) all documents

referencing or regarding a potential hack of the Coffee County voting system

and/or its potential impact on the November 3, 2020 machine recount results. The

relevance of the data/documents sought relate directly to the security and

performance of the Dominion Voting System and the alleged breach of the voting

system and unauthorized copying of the Dominion software and election data.

      Infomation obtained by Plaintiffs suggests that unauthorized third-parties

accessed and imaged some or all of the Georgia Dominion Voting System in

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Coffee County shortly after the November 2020 election initial machine count.

This may have caused tabulation discrepancies in the subsequent machine

recount. This apparent breach of system security means that unknown persons

have had far longer and more extensive access to Georgia’s specific version of the

Dominion Voting System than was given to Dr. Alex Halderman. The State has

argued that Dr. Halderman’s conclusions are based on an unrealistic amount of

access and/or that the Georgia system has never been breached; the requested

discovery will allow Plaintiffs to rebut those arguments.

                                 BACKGROUND

      Coalition’s previous discovery requests encompassed the data/documents

requested here, but the State has failed to produce them claiming they were beyond

the scope for the requests. Accordingly, this supplemental discovery is now

required. After Coalition Plaintiffs recently became aware that the Secretary of

State had seized the Coffee County EMS server sometime in 2021 (after the

reported breach in November 2020), counsel for Coalition Plaintiffs contacted

State Defendants’ counsel to reinforce the request for documents relevant to the

Coffee County election records which still have not been produced. (Exhibit 1

through 3). Defendants counsel have not acknowledged the three emails nor

produced any of the requested documents.




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      State Defendants represented to this Court and to Plaintiffs on multiple

occasions that they had produced all November 2020 county Election Project

Packages in their possession. It appears that the Secretary of State not only had

possession of the election data, but the Coffee County EMS server itself.

      The alleged breach and copying of Georgia’s Dominion software from

Coffee County, if true, poses a significant threat that system vulnerabilities were

exploited in subsequent elections across the state (and/or nation) and may be

exploited to affect future elections. Determining whether the breach occurred and

what, if any, mitigation efforts have been taken by State Defendants is clearly

relevant to Plaintiffs’ Claims and to Plaintiffs’ rebuttal of defenses. State

Defendants’ withholding of this information as well as complaints filed by Coffee

County concerning system failures is improper and should be remedied by the

issuance of an order from this Court compelling the State Defendants to produce

the requested documents.

                              State Defendants’ Position

      State Defendants previously produced the election project packages received

from the counties for the 2020 General Election and 2021 Runoff Election,

although State Defendants do not believe those files are responsive to any

discovery requests of Coalition Plaintiffs. State Defendants have twice searched for



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election project packages from the 2020 General and 2021 Runoff from Coffee

County. State Defendants disagree with Coalition Plaintiffs’ representation that the

Secretary’s office seized Coffee County’s EMS. The Secretary’s office did,

however, replace Coffee County’s EMS in 2021 and has possession of the prior

EMS. But that EMS is not responsive to any discovery request either.

      Additionally, Coalition Plaintiffs’ claims of an alleged breach of Coffee

County’s EMS server are based on information improperly withheld by Coalition

Plaintiffs in discovery, which State Defendants did not learn of until a recording of

Ms. Marks was played during the deposition of Mr. Sterling on February 24, 2022.

State Defendants subsequently requested Coalition Plaintiffs’ produce a complete

copy of the recording and anything else Coalition Plaintiffs had withheld. A copy

of State Defendants’ correspondence to opposing counsel along with a copy of the

recording produced by Coalition Plaintiffs will be provided to the Court separately.

That single recording is apparently the sole basis of Coalition Plaintiffs’ claim of a

breach, although Coalition Plaintiffs have not produced the allegedly imaged

Coffee County EMS. State Defendants are investigating several issues related to

Coffee County but at this time do not believe any of them demonstrate a breach of

actual equipment. Active investigation files are further protected from disclosure.




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                              Coalition Plaintiffs’ Reply

      Unauthorized access to Georgia voting systems is a central issue in this case.

State Defendants have refused to directly answer or verify their response to an

interrogatory asking if such access occurred. Now, they state two contradictory

things that, in the interest of justice, Plaintiffs should be allowed to explore fully.

First, State Defendants admit that they have had the Coffee County EMS server

since 2021 and at the same time claim that they have been unable to find the

requested Project Packages. Plaintiffs need to know why the server was taken by

State Defendants, what has been done with it, who has had access to it, and why

the Project Packages (stored on the server) are unavailable.

      Next, State Defendants claim an eyewitness report of the unauthorized

imaging is insufficient to justify Plaintiffs’ inquiry. Yet Defendants’ own 30(b)(6)

representative—when confronted with that report—admitted that the State actually

investigated this very event (and did so before Defendants learned of Plaintiffs’

recording). But they concealed that critical information in discovery. Further,

State Defendants must have credible evidence of the event themselves; otherwise

they would not have wasted resources investigating it. Plaintiffs should be allowed

to discover evidence about this—and any other—illegal access to Georgia’s voting

system, and also about State Defendants’ knowledge and investigation of any such

access. State Defendants’ concealment of such information is improper.

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     Respectfully submitted this 6th day of April, 2022.

/s/ Russell T. Abney                       /s/ Robert A. McGuire, III
Russell T. Abney                           Robert A. McGuire, III
Georgia Bar No. 000875                     Admitted Pro Hac Vice
WATTS GUERRA, LLP                            (ECF No. 125)
Suite 100                                  ROBERT MCGUIRE LAW FIRM
4 Dominion Drive, Building 3               113 Cherry St. #86685
San Antonio, TX 78257                      Seattle, Washington 98104-2205
(404) 670-0355                             (253) 267-8530

                  Counsel for Coalition for Good Governance




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               FOR THE NORTHERN DISTRICT OF GEORGIA
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 DONNA CURLING, ET AL.,
 Plaintiffs,
                                              Civil Action No. 1:17-CV-2989-AT
 v.

 BRAD RAFFENSPERGER, ET AL.,
 Defendants.

              CERTIFICATE OF SERVICE AND COMPLIANCE

      I hereby certify that on April 6, 2022, a copy of the foregoing was

electronically filed with the Clerk of Court using the CM/ECF system, which

will automatically send notification of such filing to all attorneys of record. In

addition, pursuant to LR 7.1(D), I hereby certify that the foregoing document has

been prepared in accordance with the font type and margin requirements of LR

5.1, using font type of Times New Roman and a point size of 14.

                                              /s/ Russell T. Abney
                                              Russell T. Abney




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